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                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
        __________________________________________
                                                   )
        STATE OF TEXAS, STATE OF                   )
        LOUISIANA                                  )
                                                   )
                                Plaintiffs,        )
              v.                                   ) No. 6:21-cv-00016
                                                   )
        UNITED STATES OF AMERICA, et al.           )
                                                   )
                                Defendants.        )
        __________________________________________)

    DEFENDANTS’ EMERGENCY MOTION FOR STAY PENDING APPEAL AND
                  CONTINUED ADMINISTRATIVE STAY
        Defendants hereby move for a stay pending appeal of the Court’s June 10, 2022, Final

Judgment, ECF No. 241, which vacated in full the September 30, 2021, Department of Homeland

Security (“DHS”) Memorandum (the “September Guidance”). In addition, Defendants request a

continuation of the administrative stay, thus preserving the status quo, while this Court considers

this stay motion and seven days thereafter. 1 This Court should especially extend the administrative

stay to allow for consideration of today’s Supreme Court decision in Aleman Gonzalez, No. 20-

322, and the forthcoming MPP decision in Biden v. Texas, No. 21-954. Plaintiffs oppose the

requested relief.
        The Fifth Circuit requires motions for emergency relief be filed no later than 2:00 pm on a

given day for that motion to be considered filed that day. 5th Cir. R. 27.3. Given the upcoming

expiration of the current administrative stay, Defendants therefore advise the Court that they intend

to seek emergency relief from the Fifth Circuit by 2:00 pm, June 14, 2022, if the Court does not

grant either a stay pending appeal by that time or extend the administrative stay in the meantime.




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  The Court’s opinion, ECF No. 240, does not expressly address Defendants’ earlier request to stay any
relief pending appeal. See Defs.’ Post-Tr. Mem. at 30-36 (ECF No. 223). Cf. Fed. R. App. Pr. 8.
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       A stay of this Court’s judgment is warranted, for multiple reasons. Most courts, including

all Courts of Appeal, that have addressed the merits of related challenges reached different legal

conclusions than this Court. Arizona v. Biden, 31 F.4th 469 (6th Cir. 2022); Texas v. United States,

14 F.4th 332, 338-39, vacated, 24 F.4th 407 (5th Cir. 2021); Florida v. United States, No. 8:21-

CV-541-CEH, 2021 WL 1985058 (M.D. Fla. May 18, 2021); Arizona v. U.S. Dep’t of Homeland

Sec., No. CV-21-00186-PHX-SRB, 2021 WL 2787930 (D. Ariz. June 30, 2021); Arizona v. United

States, Case No. 21-16118 (9th Cir. Sept. 3, 2021); but see Arizona v. Biden, No. 3:21-CV-314,

2022 WL 839672 (S.D. Ohio Mar. 22, 2022) (injunction stayed by Sixth Circuit).
       Moreover, this Court’s impending vacatur of the September Guidance will interfere with

the orderly review of this policy across the judiciary, resolving—on a nationwide basis—the

important legal issues involved even though other Courts are opining on those same issues. This

Court issued its opinion the same day that the Sixth Court heard oral argument on the merits of an

appeal of a nationwide preliminary injunction of the policy by another lower court—which the

Sixth Circuit stayed—and the Sixth Circuit has publicly suggested it would “strive to” issue a

decision by early July. Arizona, 31 F.4th at 483. Absent a stay, the September Guidance will be

vacated even if the Sixth Circuit finds that the guidance constitutes a proper exercise of DHS’s

discretion. As a matter of judicial restraint, this Court should stay its final judgment and allow both

the Sixth Circuit and the Fifth Circuit to give due consideration to the legal issues involved before

DHS personnel must cease operating under guidance that was issued more than eight months ago

and took effect more than six months ago.

       At minimum, an extension of the administrative stay is warranted to ensure that the Fifth

Circuit can rule on any stay motion filed by Defendants before DHS must comply with the Court’s

vacatur order. Otherwise, DHS may be placed in a position where, if the Fifth Circuit grants an

administrative stay after the Court’s administrative stay expires, DHS suffers a whipsaw effect

where it momentarily complies with the Court’s vacatur order, only to revert to the September

Guidance shortly thereafter. Considering the current Friday expiration of the administrative stay,

Defendants request that the Court extend the administrative stay while it considers this stay motion,

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including the evidence in the declaration of Daniel Bible, and for an additional seven days after

ruling on this motion if the Court denies the stay motion. See Arizona v. Biden, No. 22-3272, Dkt.

22-2 (6th Cir. Apr. 8, 2022) (granting administrative stay while it considered appeal of preliminary

injunction of September Guidance) (purpose of administrative stay is to “preserve the status quo

and provide [the court] with the opportunity to give ‘reasoned consideration’” to stay motion)

(collecting cases).

        This Court should also extend the administrative stay pending consideration of today’s

Supreme Court’s decision in Garland v. Aleman Gonzalez, No. 20-322, and the forthcoming MPP
decision in Biden v. Texas, No. 21-954, which is expected within weeks. In Aleman Gonzalez, the

Supreme Court held that 8 U.S.C. § 1252(f)(1), which restricts the “authority to enjoin or restrain

the operation of” §§ 1221–1232, “generally prohibits lower courts from entering injunctions that

order federal officials to take or to refrain from taking actions to enforce, implement, or otherwise

carry out the specified statutory provisions.” Garland v. Aleman Gonzalez, No. 20-322, 596 U.S.

--, slip op. at 5 (2022). In so doing, the Court squarely held that § 1252(f)(1) applies where, as

here, plaintiffs allege that “the Government [i]s misinterpreting and misapplying a covered

statutory provision.” Id. at 9.

        Aleman Gonzalez involved an injunction rather than vacatur under the APA, but the Court’s

reasoning about § 1252(f)(1) applies equally to vacatur. Because vacatur prohibits an agency from

giving effect to the vacated rule, a court “enjoin[s] or restrain[s] the operation of” the covered

statutory provisions when it vacates a rule implementing those provisions. 8 U.S.C. § 1252(f)(1);

see Aleman Gonzalez, slip op. at 4. And any argument that § 1252(f)(1) is limited to injunctions

alone is inconsistent with Congress’s use of the disjunctive “enjoin or restrain.” See id. (discussing

the meaning of “restrain”).

        The INA and the APA both make clear that the APA’s remedial authorities give way to the

specific remedial limitations in § 1252(f)(1). The INA makes those limitations applicable

“[r]egardless of the nature of the action or claim or of the identity of the [plaintiff],” and it expressly

withdraws “jurisdiction” to enter the prohibited remedies. 8 U.S.C. § 1252(f)(1). The APA is not

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“an independent grant of subject-matter jurisdiction.” Califano v. Sanders, 430 U.S. 99, 105

(1977). And the APA itself reinforces remedial limitations like those in § 1252(f)(1) by expressly

providing that “[n]othing” in the APA right of review “affects other limitations on judicial review”

or the “duty of the court to . . . deny relief on any other appropriate legal or equitable ground.” 5

U.S.C. § 702(1).

        The § 1252(f)(1) provision—including the application of § 1252(f)(1) to APA vacatur—

was also briefed in the MPP case in response to the Supreme Court’s request for supplemental

briefing on those issues. See Biden v. Texas, No. 21-954, 2022 WL 1299971 (May 2, 2022); see
also Biden v. Texas, No. 21-954, Gov’t Supp. Br. at 18-19 (May 9, 2022); Biden v. Texas, No. 21-

954, Gov’t Supp. Reply Br. at 6-7 (May 13, 2022). Moreover, this Court relied extensively on the

Fifth Circuit’s MPP decision, and the Supreme Court briefing in that case discussed issues that are

relevant to the Court’s reasoning here, including the applicability of Castle Rock to provisions of

the INA and the permissibility of nationwide vacatur. It would therefore be appropriate for this

Court to grant an interim stay to allow consideration of today’s Supreme Court decision in Aleman

Gonzalez and the Supreme Court’s imminent decision in MPP before DHS is required to cease

following the guidance that went in effect in November (and allowed by the Sixth Circuit to remain

in effect).

                                          ARGUMENT

        Courts typically consider four factors in evaluating a request for a stay pending appeal:

(1) whether the movant has made a showing of likelihood of success on the merits; (2) whether

the movant will be irreparably harmed if the stay is not granted; (3) whether issuance of a stay will

substantially harm the other parties; and (4) whether the granting of the stay serves the public

interest. See Planned Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 734 F.3d 406,

410 (5th Cir. 2013). When the Government is a party, its interests and the public interest overlap

in the balancing of harms. See Nken v. Holder, 556 U.S. 418, 420 (2009).

        First, the Government respectfully submits that it is likely to prevail on the merits of its

appeal, because, inter alia, the Court’s judgment undermines the Executive Branch’s constitutional

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and statutory authority to enforce the immigration laws and express Congressional delegation of

authority to the Secretary to prioritize such enforcement nationwide. See generally Defs.’ Mem.

of P.&A. in Opp’n to Pls.’ Mot. to Postpone the Effective Date of Agency Action or, in the

Alternative, for Prelim. Inj. (ECF No. 122); Defs.’ Post-Trial Findings of Fact and Conclusions of

Law (ECF No. 222); Defs.’ Post-Trial Mem. (ECF No. 223); Defs.’ Resp. to Pls.’ Post-Trial Br.

(ECF No. 230); see also Arizona, 31 F.4th at 469 (staying injunction of September Guidance

because the federal government was likely to prevail on the merits of its appeal on several

alternative grounds).

        Next, the balance of harms and irreparable injury that the Government faces from the

Court’s judgment strongly weigh in favor of a stay. Notwithstanding that the Court found that

Plaintiffs have standing, any injury to Texas would pale in comparison to the significant harms to

Defendants. The Court’s decision will require DHS to abruptly inform its personnel that they are

to cease relying upon guidance took effect more than six months ago, likely causing confusion

over how to allocate DHS’s limited enforcement resources and interfering with DHS’s ability to

execute the nation’s immigration laws. See generally Bible Decl. (discussing harms to DHS,

including its inability to prioritize finite resources in a manner that promotes public safety, national

security, and border security).

        In contrast, Texas identified only three detainers lifted on noncitizens in Texas Department

of Criminal Justice (TDCJ) custody during the last six-week period for which data was available

before trial, Pls.’ Trial Ex. C, and one of those three detainers was reinstated, Defs.’ Trial Ex. 5.

See also Pls. Trial. Ex. C (identifying only 15 cancelled detainers from November 29, 2021, when

the policy went into effect, to February 15, 2022). In the meantime, Plaintiffs’ own witness

acknowledged that the number of detainers ICE picked up from TDCJ from November 29, 2021,

through February 15, 2022, potentially exceeded two hundred, 2/23 PM Trial Tr. at 51:13-52:3,

Testimony of Robert Moore; id. at 52:17-53:4 (calling three dropped detainers in a month and a

half a “small number:”). Louisiana did not even attempt to identify a single dropped detainer post-



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dating the September Guidance notwithstanding ample opportunity to do so. Given these

contrasting harms, a stay is more than warranted.

       Finally, the public interest weighs in favor of the orderly execution of the nation’s

immigration laws. See Arizona, 31 F.4th at 482 (“the public interest favors a stay”). This

administration has done nothing more than establish a prioritization scheme, as had the

administrations that came before it. As this Court itself recognized there are practical limitations

in effectuating a policy that accepts this Court’s legal reasoning. See Slip Op. at 68. And yet,

although this Court declined to issue an affirmative injunction, the Court underscored that any
policy that DHS adopts in the future must subscribe to this Court’s legal reasoning,

notwithstanding the majority view of other reviewing courts and nature of ongoing judicial review.

See id. at 89 (“Each of this Court’s opinions placed the Government on notice about the problems

with its decisionmaking.”); but see Texas, 14 F.4th at 338-39, vacated, 24 F.4th 407 (stay of this

Court’s previous injunction of the interim enforcement guidance still in effect when the September

Guidance was adopted); Significant Considerations in Developing Updated Guidelines for the

Enforcement of Civil Immigration Law, AR_DHSP_00000001 (engaging with the Court’s

previous analysis in the course of the Considerations Memo); see also Arizona v. Biden 31 F.4th

at 469 (staying preliminary injunction of September Guidance); Florida, 2021 WL 1985058

(denying preliminary injunction of interim enforcement guidance); Arizona, 2021 WL 2787930

(D. Ariz. June 30, 2021) (same).

       This Court should stay the effect of its judgment outside of Texas and Louisiana at the very

least. Respect for sister courts currently reviewing the September Guidance and equitable

principles counsel in favor of such a stay. Cf. U.S. Dep’t of Homeland Sec. v. New York, 140 S. Ct.

599, 600-01 (2020) (Gorsuch, J. concurring) (“If a single successful challenge is enough to stay

the challenged rule across the country, the government's hope of implementing any new policy

could face the long odds of a straight sweep, parlaying a 94-to-0 win in the district courts into a

12-to-0 victory in the courts of appeal.”).



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                                          CONCLUSION

       For these reasons, Defendants respectfully request that the Court grant a stay pending

appeal or, alternatively, extend the administrative stay for at least seven days after its decision on

this motion.



Dated: June 13, 2022                           Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

       I certify that the total number of words in this motion, exclusive of the matters designated

for omission, is 2136, as counted by Microsoft Word.


                                             /s/ Adam D. Kirschner
                                             ADAM D. KIRSCHNER




                                CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on June 13, 2022.


                                             /s/ Adam D. Kirschner
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